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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

(1)    LOTUS JONES,                             )
                                                )
              Plaintiff,                        )
                                                )
v.                                              )               CIV-15-838-R
                                                      CASE NO. _________________
                                                )
(1)    THE TRAVELERS INDEMNITY                  )
       COMPANY d/b/a TRAVELERS                  )
       INSURANCE COMPANY,                       )
                                                )
              Defendant.                        )

                      DEFENDANT’S NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Travelers Indemnity

Company d/b/a Travelers Insurance Company (“Defendant” and/or “Travelers”) files the

instant Notice of Removal of this case from the District Court of Oklahoma County, State

of Oklahoma. In support of removal, Defendant states the following:

       1.     On July 7, 2015 Plaintiff Lotus Jones (“Plaintiff”) filed a Petition in the

District Court of Oklahoma County, State of Oklahoma, captioned Lotus Jones, Plaintiff,

v. Travelers Indemnity Company, Defendant, Case Number CJ-2015-3732 (“State Court

Action”). (See Petition, Ex. 1).

       2.     Plaintiff filed an Amended Petition on July 16, 2015 captioned Lotus Jones,

Plaintiff v. The Travelers Indemnity Company d/b/a Travelers Insurance Company. (See

Amended Petition, Ex. 2).

       3.     Defendant was served with the Amended Petition on July 21, 2015. (See

Summons, Ex. 3).
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       4.     In her Amended Petition, Plaintiff seeks judgment in her favor in the

amount of “$100,000.00 on [her] contract claim”, “an amount in excess of the amount

required for diversity jurisdiction pursuant to Section 1332 of Title 28 of the United

States Code on [her] tort claim”, costs, and all other relief deemed appropriate by the

court. (See Amended Petition, Ex. 2).

       5.     Though not specifically alleged in either her Petition or Amended Petition,

the evidence shows that Plaintiff is a citizen of the State of Oklahoma. Plaintiff lists a

home address in Midwest City, Oklahoma on her Civil Cover Sheet for the State Court

Action, owns the home in Midwest City, Oklahoma where she resides, and maintains a

current Oklahoma driver’s license. (See State Court Action Civil Cover Sheet, Ex. 4;

Property Record, Ex. 5; Driver’s License, Ex. 6). Such evinces Plaintiff’s physical

presence in Oklahoma as well as her intention to remain in Oklahoma. (See Crowley v.

Glaze, 710 F.2d 676, 678 (10th Cir. 1983) (A natural person is a citizen of the state in

which he is domiciled.) See also Mississippi Band of Choctaw Indians v. Holyfield, 490

U.S. 30, 48 (1989) (For adults, domicile is established by physical presence in a place,

coupled with an intent to remain there.))

       6.     Defendant is incorporated in the State of Connecticut and has its principal

place of business in the State of Connecticut.

       7.     Because the amount in controversy exceeds $75,000.00 exclusive of

interest and costs and complete diversity exists among the parties, this case is properly



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removed within the applicable time constraints pursuant to 28 U.S.C. §§ 1332, 1441,

1446.

          8.      The United States District Court for the Western District of Oklahoma is

the appropriate court for filing the instant Notice of Removal as the District Court of

Oklahoma County, where the State Court Action is currently pending, is one of the

counties included within this Court’s federal jurisdiction.

          9.      Upon receiving the federally filed Notice of Removal, Defendant will file a

copy of the such Notice with the District Court of Oklahoma County as well as provide

written notice to Plaintiff’s counsel, all in accordance with 28 U.S.C. § 1446(d).

          10.     Pursuant to 28 U.S.C. § 1446 and LCvR 81.2(a), a copy of the docket sheet

and a copy of documents filed and/or served in the State Court Action are attached

hereto. (See State Court Action docket sheet, Ex. 7; Entry of Appearance, Ex. 8; Petition,

Ex. 1; Amended Petition, Ex. 2; Summons, Ex. 3; State Court Action Civil Cover Sheet,

Ex. 4).

          11.     Under the provisions of 28 U.S.C. §§ 1332, 1441, and 1446 and all other

applicable statutes, all of which Defendant has complied with, this cause of action is

removable to the United States District Court for the Western District of Oklahoma.




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                                           Respectfully submitted,



                                           /s/ Carolyn S. Smith_______________
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                                           Carolyn S. Smith, OBA #22344
                                           NELSON TERRY MORTON DeWITT
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                                           ATTORNEYS FOR DEFENDANT

                             CERTIFICATE OF SERVICE

       This is to certify that on the 31st day of July, 2015, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing and transmittal
of a Notice of Electronic Filing to the following ECF registrant:

Clayton T. Hasbrook, OBA #22169
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ATTORNEY FOR PLAINTIFF

                                           /s/ Carolyn S. Smith_____________________




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